Case 7:17-mj-00494 Document 1 Filed on 03/21/17 in TXSD_ Page 1 of 2

AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT \Southom Bent of foes

 

 

 

for the
Southern District of Texas MAR 24 2017
United States of America ) David J. Bradley, Clerk
. 4-17-04 VE-h
DANIEL BETANCOURT case No, AL - [7
US@ \YOS* 1441 )
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of March 21, 2017 in the county of Hidalgo in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
18 U.S.C Section 1001 (a) 2 Whoever within the jurisdiction of the executive branch of the Government of

the United States, knowingly and willfully makes any materially false,
fictitious, or fraudulent statement or representation.

This criminal complaint is based on these facts:

SEE ATTACHED AFFIDAVIT

WM Continued on the attached sheet.

 

Complainant's signature

Nidnclos C. Keain, Spee ol Pest

Printed name and title

   

Sworn to before me and signethin My presence.

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Date: 3{Zt\Zort [cz
Judge’s signature

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City and : LA. § "Yltas bev é. De Ge

 

 

 
Case 7:17-mj-00494 Document 1 Filed on 03/21/17 in TXSD_ Page 2 of 2

Affidavit

FBI Special Agents have learned that LUIS ENRIQUE PEREZ-TALAVERA, LUIS GERARDO
BETANCOURT, and JONATHAN CARLOS VALDEZ conspired during November 2015 to take certain
Mexican Nationals hostage. The purpose of the hostage taking was to demand a ransom payment
from the family members of the hostages in exchange for their release. According to LUIS
ENRIQUE PEREZ-TALAVERA and JONATHAN CARLOS VALDEZ, DANIEL BETANCOURT, who is LUIS
GERARDO BETANCOURT’s brother, was also present during some of the conspiratorial
conservations regarding the hostage taking preparations in November 2015.

On or about November 30, 2015, LUIS ENRIQUE PEREZ-TALAVERA, LUIS GERARDO
BETANCOURT, and JONATHAN CARLOS VALDEZ traveled to Mexico to effectuate the hostage
taking of four Mexican nationals. Upon their arrival to Reynosa, Tamaulipas, Mexico the four
Mexican nationals were taken hostage and held for ransom until their family members paid
approximately $18,000. After the payment was made, the hostage takers continued to demand
more money. On December 4, 2015, the family members reported this matter to the local law
enforcement. FBI began their investigation and arrested LUIS GERARDO BETANCOURT in
conjunction to the hostage taking. On December 8, 2015, the four Mexican nationals were
released and proceeded to the Port of Entry in Hidalgo, Texas. At the Port of Entry, the Mexican
nationals were interviewed and identified LUIS ENRIQUE PEREZ-TALVERA and JONATHAN CARLOS
VALDEZ as being the hostage takers.

On March 21, 2017, DANIEL BETANCOURT was interviewed by the FBI regarding the
aforementioned hostage taking for ransom at the Hidalgo, Texas Port of Entry. DANIEL
BETANCOURT made multiple materially false statements and representations to include his lack
of any knowledge and involvement in regards to the planning of the hostage taking and the
relationship and the roles of LUIS ENRIQUE PEREZ-TALAVERA, LUIS GERARDO BETANCOURT, and
JONATHAN CARLOS VALDEZ. DANIEL BETANCOURT also denied being present at any planning for
the hostage taking. DANIEL BETANCOURT was informed that it was a federal offense to make any
false statement to a federal agent.

FBI’s investigation of the hostage taking of the four Mexican nationals was a matter within
the jurisdiction of the executive branch of the Government of the United States.
